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Fu.t=.n ev %___, o.o.
IN THE UNITED STATES DISTRICT COURT `
FOR THE WESTERN DISTRlCT OF TENNESSEE 05 AUG 23 PH 33 |8
WESTERN DIVISION
_ _ ll'KJMAS M. _GOU{D
Unlted States of Amenca, U..ERK, U\S. BFSWCT C(IM
W,@ 95 i'.'?'“i‘-tii’l“ii§

Plaintiff,
vs. CivilNo. 05'2592 * M| P

Three l-Iundred Thousand Dollars
($300,000.00) in U.S. Funds
Seized from Michael Elliot Cole,

Defendant.

M
Pursuam to a complaint filed by the United states on what 'i' l(a , 2005,
seeking the forfeiture of Three Hundred Thousand Dollars ($300,000.00) in U.S. Funds Seized from
Michael Elliot Cole under the provisions of 18 U.S.C. §§981(a)(l)(C) and 1964, it is hereby
ORDERED:

1. That the United States Marshal for this district will seize the defendant property and
hold said property subject to the further orders of this Court;

2. That the United States Marshal will serve a copy of the complaint on all known
claimants to the defendant property, including, without limitation, Michael Elliot Cole;

3. That the United States Marshal will advertise in the Daily News, Memphis,
'I`ermessee, for a period of three consecutive weeks, once per Week. The advertisement will notice
that the defendant property Was seized by the Federal Bureau of lnvestigation from Michael Elliot
Cole on or about August 15, 2005 in Memphis, Tennessee; that a Verified Complaint of Forfeiture

has been filed pursuant to 18 U.S.C. §§981(a)(l)(C) and 1964; and that each party claiming each

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with Ru!e 58 andfor 79(a) FFlCP on "

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interest in the said currency must file a claim within thirty (3 O) days of the notice and an answer to

the complaint within twenty (20) days thereafter;

 

4. The Marshal may use the attached legal notice in the advertisement
ENTERED: This § day of - , 2005.
co
\\
TED STATES DISTRICT JUDGE
APPROVED:

TERRELL L. HARRIS
United States Attorney

[/WMWV

L/HRISTOPHER E COTTEN
Assistant United States Attorney
800 Federal Building
Memphis, Tennessee 38103
(#014277 Tennessee)

(901) 544-4231

DISTCRIT C URT - WESTENR ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02592 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

